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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                                               CASE NO.:
  HOWARD COHAN,

         Plaintiff,

  vs.                                                           INJUNCTIVE RELIEF SOUGHT


  ISLAND HOSPITALITY MANAGEMENT, LLC,
  a Foreign Limited Liability Company,
  d/b/a COURTYARD BY MARRIOTT
  FT LAUDERDALE NORTH,

        Defendant(s).
  ____________________________________/

                                            COMPLAINT

         Plaintiff, HOWARD COHAN (“Plaintiff”), by and through the undersigned counsel,

  hereby files this Complaint and sues ISLAND HOSPITALITY MANAGEMENT, LLC, a Foreign

  Limited Liability Company, d/b/a COURTYARD BY MARRIOTT FT LAUDERDALE NORTH

  (“Defendant”), for declaratory and injunctive relief, attorneys’ fees, expenses and costs (including,

  but not limited to, court costs and expert fees) pursuant to 42 U.S.C. § 12182 et. seq., and the 2010

  Americans with Disabilities Act (“ADA”) and alleges as follows:

                                   JURISDICTION AND VENUE

         1.      This is a complaint for breach of contract and injunctive relief seeking enforcement

  of the Confidential Settlement Agreement (copy attached as Exhibit A) reached in the case of

  HOWARD COHAN v. ISLAND HOSPITALITY MANAGEMENT LLC, 0:17-CV-61579 (S.D.

  Fla.) (dismissed by order upon settlement) which arose out of Plaintiff’s claim of discrimination

  caused by certain barriers encountered by Plaintiff on Defendant’s property that prevented Plaintiff
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  from the full and equal enjoyment of a place of public accommodation in violation of Title III of

  the Americans with Disabilities Act.

          2.      This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.

  §§ 1331, 343 for Plaintiff’s claims arising under Title 42 U.S.C. § 12182 et. seq., based on

  Defendant’s violations of Title III of the ADA. See also, 28 U.S.C. §§ 2201, 2202, as well as the

  2010 ADA Standards.

          3.      Venue is proper in this Court, FORT LAUDERDALE Division, pursuant to 28

  U.S.C. § 1391(B) and Internal Operating Procedures for the United States District Court For the

  Southern District of Florida in that all events giving rise to the lawsuit occurred in Broward

  County, Florida.

                                                  PARTIES

          4.      Plaintiff, HOWARD COHAN is sui juris and is a resident of the State of Florida

  residing in Palm Beach County, Florida.

          5.      Upon information and belief, Defendant is the lessee, operator, owner and lessor of

  the Real Property, which is subject to this suit, and is located at 2440 W. Cypress Creek Rd., Fort

  Lauderdale, FL 33309, (“Premises”), and is the owner of the improvements where Premises is

  located.

          6.      Defendant is authorized to conduct, and is in fact conducting, business within the

  State of Florida.

          7.      Plaintiff is an individual with numerous permanent disabilities including severe

  spinal stenosis of the lumbar spine with spondylolisthesis; severe spinal stenosis of the cervical

  spine with nerve root compromise on the right side; a non-union fracture of the left acromion

  (shoulder); a labral tear of the left shoulder; a full thickness tear of the right rotator cuff; a right
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  knee medial meniscal tear; a repaired ACL and bilateral meniscal tear of the left knee; and severe

  basal joint arthritis of the left thumb. The above listed permanent disabilities and symptoms cause

  sudden onsets of severe pain and substantially limit Plaintiff’s major life activities. As such,

  Plaintiff suffered from a “qualified disability” under the ADA. 42 U.S.C § 12101, et seq.

          8.     On May 31, 2017, Plaintiff visited Defendant’s Premises. At the time of Plaintiff’s

  visit to the Premises on May 31, 2017, Plaintiff required the use of a check-in counter allowing for

  disabled access, seating which accommodates disabled persons at bar/eating areas, fully accessible

  restrooms, and proper passenger loading areas, pathways and ramps in the drop-off/valet area and

  parking lots. Plaintiff personally visited the Premises, but was denied full and equal access and

  full and equal enjoyment of the facilities, services, goods, and amenities within the Premises, even

  though he was a “bona fide patron”.

          9.     Defendant’s Premises is a public accommodation as defined by Title III of the ADA

  and as such is governed by the ADA.

          10.    On or about August 8, 2017, Plaintiff filed a lawsuit against Defendant seeking to

  force Defendant to comply with the ADA and applicable regulations thereto. See HOWARD

  COHAN v. ISLAND HOSPITALITY MANAGEMENT LLC, 0:17-CV-61579 (S.D. Fla.).

          11.    On or about September 26, 2017, Plaintiff’s suit was dismissed upon stipulation

  and notice to the U.S. District Court that the parties had settled.

          12.    In connection with said dismissal, Plaintiff and Defendant entered into a

  Confidential Settlement Agreement and General Release (Exhibit A) on or about September 6,

  2017.

          13.    The Settlement Agreement and Release required Defendant to complete all

  modifications to the Premises by on or about September 7, 2018.
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         14.     Defendant has failed to complete the required modification(s) to the Premises as

  required by the ADA and the Settlement Agreement and Release and Defendant has failed to give

  notice of any reasons or documentation for non-compliance.

         15.     Plaintiff again personally visited Defendant’s Premises on March 12, 2020, May

  25, 2020, and November 9, 2020 (and prior to instituting this action).

         16.     Plaintiff required the use of fully accessible restrooms; fully accessible paths of

  travel throughout the facility; fully accessible service counters and/or kiosks; and fully accessible

  and properly marked passenger loading zone. Plaintiff was denied full and equal access and full

  and equal enjoyment of the facilities, services, goods, and amenities within the Premises, even

  though he was a “bona fide patron”.

         17.     Plaintiff, in his individual capacity, has shown that he will absolutely return to the

  Premises and avail himself of the services offered when Defendant modifies the Premises or

  modifies the policies and practices to accommodate individuals who have physical disabilities.

         18.     Plaintiff is continuously aware of the violations at Defendant’s Premises and is

  aware that it would be a futile gesture to return to the Premises as long as those violations exist,

  and Plaintiff is not willing to suffer additional discrimination.

         19.     Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

  result of Defendant’s discrimination until Defendant is compelled to comply with the requirements

  of the ADA.

         20.     Plaintiff would like to be able to be a patron of the Premises in the future and be

  able to enjoy the goods and services that are available to the able-bodied public, but is currently

  precluded from doing so as a result of Defendant’s discriminatory conduct as described herein.
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  Plaintiff will continue to be precluded from using the Premises until corrective measures are taken

  at the Premises to eliminate the discrimination against persons with physical disabilities.

         21.     Completely independent of the personal desire to have access to this place of public

  accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the purpose of

  discovering, encountering and engaging discrimination against the disabled in public

  accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff

  personally visits the public accommodation; engages all of the barriers to access, or at least of

  those that Plaintiff is able to access; tests all of those barriers to access to determine whether and

  the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such

  discrimination; and subsequently returns to Premises to verify its compliance or non-compliance

  with the ADA and to otherwise use the public accommodation as members of the able-bodied

  community are able to do. Independent of other subsequent visits, Plaintiff also intends to visit

  the Premises regularly to verify its compliance or non-compliance with the ADA, and its

  maintenance of the accessible features of Premises. In this instance, Plaintiff, in Plaintiff’s

  individual capacity and as a “tester”, visited Premises, encountered barriers to access at Premises,

  and engaged and tested those barriers, suffered legal harm and legal injury, and will continue to

  suffer such harm and injury as a result of the illegal barriers to access and the ADA violations set

  forth herein. It is Plaintiff’s belief that said violations will not be corrected without Court

  intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

         22.     Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

  Defendant modifies the Premises or modifies the policies and practices to accommodate

  individuals who have physical disabilities to confirm said modifications have been completed in

  accordance with the requirements of the ADA.
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                                     COUNT I
                 VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

         23.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 22

  above as if fully stated herein.

         24.      On July 26, 1990, Congress enacted the Americans With Disabilities Act (“ADA”),

  42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one and a half (1.5) years from

  enactment of the statute to implement its requirements. The effective date of Title III of the ADA

  was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer employees and

  gross receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. § 36.508(a).

         25.      Congress found, among other things, that:

               a. some 43,000,000 Americans have one or more physical or mental disabilities, and

                  this number shall increase as the population continues to grow older;

               b. historically, society has tended to isolate and segregate individuals with disabilities

                  and, despite some improvements, such forms of discrimination against disabled

                  individuals continue to be a pervasive social problem, requiring serious attention;

               c. discrimination against disabled individuals persists in such critical areas as

                  employment, housing, public accommodations, transportation, communication,

                  recreation, institutionalization, health services, voting and access to public services

                  and public facilities;

               d. individuals with disabilities continually suffer forms of discrimination, including

                  outright intentional exclusion, the discriminatory effects of architectural,

                  transportation, and communication barriers, failure to make modifications to

                  existing facilities and practices. Exclusionary qualification standards and criteria,
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                  segregation, and regulation to lesser services, programs, benefits, or other

                  opportunities; and,

               e. the continuing existence of unfair and unnecessary discrimination and prejudice

                  denies people with disabilities the opportunity to compete on an equal basis and to

                  pursue those opportunities for which our country is justifiably famous, and accosts

                  the United States billions of dollars in unnecessary expenses resulting from

                  dependency and non-productivity.

  42 U.S.C. § 12101(a)(1)-(3),(5) and (9).

         26.      Congress explicitly stated that the purpose of the ADA was to:

               a. provide a clear and comprehensive national mandate for elimination of

                  discrimination against individuals with disabilities;

               b. provide clear, strong, consistent, enforceable standards addressing discrimination

                  against individuals with disabilities; and

               c. invoke the sweep of congressional authority, including the power to enforce the

                  fourteenth amendment and to regulate commerce, in order to address the major

                  areas of discrimination faced on a daily basis by people with disabilities.

  U.S.C. § 12101(b)(1)(2) and (4).

         27.      Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010 ADA Standards,

  Defendant’s Premises is a place of public accommodation covered by the ADA by the fact it

  provides services to the general public and must be in compliance therewith.

         28.      Defendant has discriminated and continues to discriminate against Plaintiff and

  others who are similarly situated, by denying access to, and full and equal enjoyment of goods,

  services, facilities, privileges, advantages and/or accommodations located at the Premises, as
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  prohibited by 42 U.S.C. § 12182 and 42 U.S.C. § 12101 et. seq., and by failing to remove

  architectural barriers pursuant to 42 U.S.C. § 12182(b)(2)(A)(iv).

          29.      Plaintiff has visited Premises, and has been denied full and safe equal access to the

  facilities and therefore suffered an injury in fact.

          30.      Plaintiff would like to return and enjoy the goods and/or services at Premises on a

  spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by the

  Defendant’s failure and refusal to provide disabled persons with full and equal access to its

  facilities. Therefore, Plaintiff continues to suffer from discrimination and injury due to the

  architectural barriers that are in violation of the ADA.

          31.      Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department

  of Justice, Office of the Attorney General promulgated Federal Regulations to implement the

  requirements of the ADA. See 28 C.F.R. § 36 and its successor the 2010 ADA Standards ADA

  Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. § 36, under which said

  Department may obtain civil penalties of up to $55,000.00 for the first violation and $110,000.00

  for any subsequent violation.

          32.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

  U.S.C. § 12182 et. seq. and the 2010 American Disabilities Act Standards et. seq., and is

  discriminating against Plaintiff as a result of, inter alia, the following specific violations, which

  were brought to Defendant’s attention in a notice letter dated July 9, 2020:

          Passenger Drop-Off Area

                a. Failure to provide a passenger loading zone with an access aisle marked with

                   striping in violation of 2010 ADAAG §§ 209, 209.1, 209.4, 503, 503.1, 503.3 and

                   503.3.3.
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        Men's Restroom Conference Center GENERAL

          b. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

             exceeding the limits for a person with a disability in violation of 2010 ADAAG §§

             404, 404.1, 404.2, 404.2.9 and 309.4.

          c. Failure to provide paper towel dispenser at the correct height above the finished

             floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.

        Men’s Restroom Conference Center AMBULATORY STALL

          d. Failure to provide a coat hook within the proper reach ranges for a person with a

             disability in violation of 2010 ADAAG §§ 603, 603.4 and 308.

          e. Failure to provide toilet paper dispensers in the proper position in front of the water

             closet or at the correct height above the finished floor in violation of 2010 ADAAG

             §§ 604, 604.7 and 309.4.

          f. Providing grab bars of improper horizontal length or spacing as required along the

             rear or side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2.

          g. Failure to provide the proper spacing between a grab bar and an object projecting

             out of the wall in violation of 2010 ADAAG §§ 609, 609.1 and 609.3.

          h. Failure to provide the water closet in the proper position relative to the side wall or

             partition in violation of 2010 ADAAG §§ 604 and 604.2.

        Men’s Restroom Conference Center ACCESSIBLE STALL

          i. Providing grab bars of improper horizontal length or spacing as required along the

             rear or side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2.

          j. Failure to provide the water closet seat at the correct height above the finished floor

             in violation of 2010 ADAAG §§ 604 and 604.4.
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           k. Failure to provide the water closet in the proper position relative to the side wall or

              partition in violation of 2010 ADAAG §§ 604 and 604.2.

           l. Failure to provide toilet paper dispensers in the proper position in front of the water

              closet or at the correct height above the finished floor in violation of 2010 ADAAG

              §§ 604, 604.7 and 309.4.

           m. Failure to provide operable parts that are functional or are in the proper reach ranges

              as required for a person with a disability in violation of 2010 ADAAG §§ 309,

              309.1, 309.3, 309.4 and 308.

           n. Failure to provide sufficient clear floor space around a water closet without any

              obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

              603.2.3, 604, 604.3 and 604.3.1.

           o. Failure to provide proper knee clearance for a person with a disability under a

              counter or sink element in violation of 2010 ADAAG §§ 306, 306.1 306.3, 606 and

              606.2

        Men’s Restroom – Pool Location

           p. Providing grab bars of improper horizontal length or spacing as required along the

              rear or side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2.

           q. Failure to provide toilet paper dispensers in the proper position in front of the water

              closet or at the correct height above the finished floor in violation of 2010 ADAAG

              §§ 604, 604.7 and 309.4.

           r. Failure to provide the proper insulation or protection for plumbing or other sharp

              or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§ 606

              and 606.5.
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           s. Failure to provide toilet cover dispenser at the correct height above the finished

              floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.

        Restrooms – Westside

           t. Failure to provide a coat hook within the proper reach ranges for a person with a

              disability in violation of 2010 ADAAG §§ 603, 603.4 and 308.

           u. Failure to provide proper signage for an accessible restroom or failure to redirect a

              person with a disability to the closest available accessible restroom facility in

              violation of 2010 ADAAG §§ 216, 216.2, 216.6, 216.8, 603, 703, 703.1, 703.2,

              703.5 and 703.7.2.1.

           v. Failure to provide toilet cover dispenser at the correct height above the finished

              floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.

           w. Failure to provide toilet paper dispensers in the proper position in front of the water

              closet or at the correct height above the finished floor in violation of 2010 ADAAG

              §§ 604, 604.7 and 309.4.

           x. Failure to provide grab bar(s) in violation of 2010 ADAAG §§ 604, 604.5, 609,

              609.4, 609.1 and 609.3.

           y. Failure to provide operable parts that are functional or are in the proper reach ranges

              as required for a person with a disability in violation of 2010 ADAAG §§ 309,

              309.1, 309.3, 309.4 and 308.

        Boarding Pass Printing

           z. Providing counter heights exceeding 36 inches making it impossible to service a

              person with a disability in violation of 2010 ADAAG §§ 904, 904.4, 904.4.1,

              904.4.2, 305 and 306.
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         33.      The following additional violations were not included in the notice letter dated July

  9, 2020, but currently exist at the Premises upon Plaintiff’s preliminary inspection in violation of

  42 U.S.C. § 12182 et. seq. and the 2010 American Disabilities Act Standards et. seq.:

         Men’s Restroom Conference Center AMBULATORY STALL

               a. Failure to provide a dispenser in an accessible position (back wall or other

                  inaccessible place) so that it can be reached by a person with a disability in violation

                  of 2010 ADAAG §§ 606, 606.1, 308 and 308.2.2.

               b. Failure to provide operable parts that are functional or are in the proper reach ranges

                  as required for a person with a disability in violation of 2010 ADAAG §§ 309,

                  309.1, 309.3, 309.4 and 308.

         Men’s Restroom Conference Center ACCESSIBLE STALL

               c. Failure to provide the proper insulation or protection for plumbing or other sharp

                  or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§ 606

                  and 606.5.

         Men’s Restroom – Pool Location

               d. Failure to provide a dispenser in an accessible position (back wall or other

                  inaccessible place) so that it can be reached by a person with a disability in violation

                  of 2010 ADAAG §§ 606, 606.1, 308 and 308.2.2.

               e. Failure to provide paper towel dispenser at the correct height above the finished

                  floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.

         34.      To the best of Plaintiff’s belief and knowledge, Defendant has failed to eliminate

  the specific violations set forth in paragraphs 32 and 33 herein.
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          35.    Although Defendant is charged with having knowledge of the violations, Defendant

  may not have actual knowledge of said violations until this Complaint makes Defendant aware of

  same.

          36.    To date, the readily achievable barriers and other violations of the ADA still exist

  and have not been remedied or altered in such a way as to effectuate compliance with the

  provisions of the ADA.

          37.    As the owner, lessor, lessee or operator of the Premises, Defendant is required to

  comply with the ADA. To the extent the Premises, or portions thereof, existed and was occupied

  prior to January 26, 1992, the owner, lessor, lessee or operator has been under a continuing

  obligation to remove architectural barriers at the Premises where removal was readily achievable,

  as required by 28 C.F.R. §36.402.

          38.    To the extent the Premises, or portions thereof, was constructed for occupancy after

  January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an obligation to

  design and construct such Premises such that it is readily accessible to and usable by individuals

  with disabilities, as required by 28 C.F.R. §36.401.

          39.    Plaintiff has retained the undersigned counsel for the filing and prosecution of this

  action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid by

  Defendant, pursuant to 42 U.S.C. § 12205.

          40.    All of the above violations are readily achievable to modify in order to bring

  Premises or the Facility/Property into compliance with the ADA.

          41.    In instance(s) where the 2010 ADAAG standard does not apply, the 1991 ADAAG

  standard applies and all of the violations listed in paragraphs 32 and 33 herein can be applied to

  the 1991 ADAAG standards.
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         42.      Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

  Plaintiff’s injunctive relief, including an order to alter the Subject Facility to make it readily

  accessible to and useable by individuals with disabilities to the extent required by the ADA and

  closing the Subject Facility until the requisite modifications are completed.

         WHEREFORE, Plaintiff demands judgment against Defendant and requests the following

  injunctive and declaratory relief:

               1. That this Court declares that Premises owned, operated and/or controlled by

                  Defendant is in violation of the ADA;

               2. That this Court enter an Order requiring Defendant to alter its facilities to make

                  them accessible to and usable by individuals with disabilities to the full extent

                  required by Title III of the ADA;

               3. That this Court enter an Order directing the Defendant to evaluate and neutralize

                  its policies, practices and procedures toward persons with disabilities, for such

                  reasonable time so as to allow the Defendant to undertake and complete corrective

                  procedures to Premises;

               4. That this Court award reasonable attorney’s fees, all costs (including, but not

                  limited to the court costs and expert fees) and other expenses of suit to the Plaintiff;

                  and,

               5. That this Court award such other and further relief as it may deem necessary, just

                  and proper.

                                            COUNT II
                                       BREACH OF CONTRACT

         39.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 22

  above as if fully stated herein.
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         40.       On or about September 6, 2017, Plaintiff and Defendant entered into a Confidential

  Settlement Agreement and General Release. (Exhibit A). Through this Settlement Agreement,

  Defendant agreed to make modifications to Defendant’s Premises as outlined in the agreement.

  The Settlement Agreement and Release required Defendant to complete all modifications to the

  Premises by on or about September 6, 2018.

         41.       Plaintiff has performed all conditions precedent to be performed by him under the

  Settlement Agreement in addition to sending pre-suit notice on July 9, 2020 pursuant to a separate

  Confidential Settlement Agreement between the parties dated September 25, 2019.

         42.       Since September 6, 2018, Defendant has failed to complete the modifications

  promised in the Settlement Agreement. Specifically, Defendant has failed to address the following

  violations:

         Passenger Drop Off (Front of Hotel):

                a. Provide a passenger loading zone with an access aisle marked with striping in

                   compliance with 2010 ADAAG §§ 209, 209.1, 209.4, 503, 503.1, 503.3, and

                   503.3.3.

         Men’s Restroom Conference Center (General):

                b. Modify the gate or door with continuous opening pressure to be less than 5 lbs.,

                   within the limits for a person with a disability in compliance with 2010 ADAAG

                   §§ 404, 404.1, 404.2, 404.2.9, and 309.4.

                c. Provide paper towel dispenser at the correct height above the finished floor in

                   compliance with 2010 ADAAG §§ 606, 606.1, and 308.

         Men’s Restroom Conference Center (Ambulatory and Accessible Stall):
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           d. Provide the proper spacing between a grab bar and an object projecting out of the

              wall in compliance with 2010 ADAAG §§ 609, 609.1, and 609.3.

           e. Provide grab bars at 33 inches minimum and 36 inches maximum above the

              finished floor measured to the top of the gripping surface in compliance with 2010

              ADAAG §§ 609, 609.4, and 609.7.

           f. Provide toilet paper dispensers in the proper position in front of the water closet or

              at the correct height above the finished floor in compliance with 2010 ADAAG §§

              605, 604.7, and 309.4.

           g. Provide a coat hook within the proper reach ranges for a person with a disability in

              compliance with 2010 ADAAG §§ 603, 603.4, and 308.

           h. Provide the water closet in the proper position relative to the side wall or partition

              in compliance with 2010 ADAAG §§ 604 and 604.2.

           i. Provide the water closet seat at the correct height above the finished floor in

              compliance with 2010 ADAAG §§ 604 and 604.4.

        Men’s Restroom at Pool

           j. Provide the proper insulation or protection for plumbing or other sharp or abrasive

              objects under sink or countertop in compliance with 2010 ADAAG §§ 606 and

              606.5.

           k. Provide grab bars of proper horizontal length or spacing as required along the rear

              or side wall in compliance with 2010 ADAAG §§ 604, 604.5, 604.5.1, and 604.5.2.

           l. Provide toilet paper dispensers in the proper position in front of the water closet or

              at the correct height above the finished floor in compliance with 2010 ADAAG §§

              604, 604.7, and 309.4.
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                m. Provide toilet paper dispenser at the correct height above the finished floor in

                   compliance with 2010 ADAAG §§ 606, 606.1, and 308.

          43.      Plaintiff has been damaged by the Defendant’s breach of the Settlement Agreement.

  Specifically, Plaintiff has had to retain the services of the undersigned attorney to pursue this action

  for breach of contract.

          WHEREFORE, Plaintiff demands judgment against Defendant and requests the following

  injunctive and declaratory relief:

                1. That this Court declares that Defendant has failed to comply with the Confidential

                   Settlement Agreement and General Release;

                2. That this Court enter an Order requiring Defendant to alter its facilities to make

                   them accessible to and usable by individuals with disabilities to the full extent

                   required by Title III of the ADA;

                3. That this Court award reasonable attorney’s fees, all costs (including, but not

                   limited to the court costs and expert fees) and other expenses of suit to the Plaintiff

                   and as provided in the Confidential Settlement Agreement and General Release;

                   and,

                4. That this Court award such other and further relief as it may deem necessary, just

                   and proper.

          Dated June 22, 2021.

                                          Sconzo Law Office, P.A.
                                          3825 PGA Boulevard, Suite 207
                                          Palm Beach Gardens, FL 33410
                                          Telephone: (561) 729-0940
                                          Facsimile: (561) 491-9459

                                          By: /s/ Gregory S. Sconzo
                                          GREGORY S. SCONZO, ESQUIRE
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